                     IN THE SUPREME COURT OF NORTH CAROLINA

                                           2022-NCSC-34

                                            No. 249A21

                                        Filed 18 March 2022

     IN THE MATTER OF D.D.M.


            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) (2019) from an order entered on

     27 May 2021 by Judge Clifton H. Smith in District Court, Catawba County. This

     matter was calendared for argument in the Supreme Court on 18 February 2022 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


            Maranda W. Stevens for petitioner-appellee Catawba County Department of
            Social Services.

            Michelle FormyDuval Lynch for appellee Guardian ad Litem.

            Richard Croutharmel for respondent-appellant mother.


            EARLS, Justice.

¶1          Respondent-mother appeals from the trial court’s order terminating her

     parental rights to her minor child D.D.M. (Damion).1 She argues that the trial court

     committed reversible error in concluding that grounds existed to terminate her

     parental rights based on neglect and willful failure to make reasonable progress in



            1 This is a pseudonym used to protect the juvenile’s identity. The father’s parental

     rights to Damion were also terminated, but he did not participate in this appeal.
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     correcting the conditions that led to removal under N.C.G.S. § 7B-1111(a)(1) and

     N.C.G.S. § 7B-1111(a)(2). After careful review of the record and consideration of the

     briefs of counsel, we affirm the trial court’s order terminating respondent-mother’s

     parental rights.

                        I.   Factual and Procedural Background

¶2         Damion was born to respondent-mother on 14 August 2016 in Mecklenburg

     County. Damion was born at thirty-five weeks gestation with a heart defect and lung

     problems that required multiple corrective surgeries and resulted in Damion’s

     extended need for oxygen and his intolerance of oral feedings, which required him to

     have a feeding tube. In October 2016, the Mecklenburg County Department of Social

     Services (MCDSS) received a child protective services report alleging that Damion

     was suffering from medical neglect under the care and custody of respondent-mother,

     as respondent-mother was allegedly not meeting his needs during his hospitalization

     and there had been an altercation between respondent-mother and Damion’s father

     at the hospital. Hospital staff first expressed concerns about respondent-mother’s

     ability to care for Damion upon his release from the hospital in November 2016

     following his birth. After Damion’s release from the hospital, respondent-mother was

     inconsistent with Damion’s medical care. He missed multiple appointments with his

     various medical providers and missed in-home services including nursing and

     occupational therapy. On 8 December 2016, MCDSS received another child protective
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     services report alleging respondent-mother’s sustained medical neglect of Damion.

     The allegations in the report mirrored those that were raised in the October report.

¶3         In February 2017, the case was transferred to family in-home services through

     the Catawba County Department of Social Services (CCDSS) when respondent-

     mother relocated to Hickory, North Carolina. Special services were instituted to

     assist respondent-mother with Damion’s care, and despite having access to these

     services, respondent-mother continued to be inconsistent in meeting Damion’s

     medical needs. Damion’s condition did not improve. On 22 June 2017, respondent-

     mother delayed bringing Damion to the hospital for fifteen hours after she was told

     by healthcare providers that he needed to be seen immediately because his feeding

     tube was dislodged following an altercation between respondent-mother and

     Damion’s grandmother. When Damion was admitted to the hospital, his blood sugar

     was extremely low because he had not received any nourishment for approximately

     fifteen hours. Respondent-mother’s delay in taking Damion to the hospital placed him

     at risk of a seizure, and when he was finally dropped off for admittance, medical

     providers did not see respondent-mother again until Damion was ready to be

     discharged seven days later.

¶4         On or about 12 July 2017, Damion’s pediatrician contacted the hospital where

     he had received care and expressed continued concerns regarding his weight loss.

     Damion was immediately referred to the emergency department for evaluation, and
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     he was ultimately admitted to an inpatient unit. Upon his readmission to the

     hospital, Damion had lost considerable weight from his discharge weight on 29 June

     2017. As had been the case in June, no family was present to accompany Damion or

     provide physicians with his medical history, nor was respondent-mother present to

     receive education about how to properly care for Damion’s medical needs. Damion’s

     medical providers attributed his limited progress to respondent-mother’s inability to

     appropriately meet his healthcare needs and they also raised concerns that

     respondent-mother suffered from untreated mental health diagnoses. While

     hospitalized, Damion’s weight improved. Medical providers ultimately concluded that

     Damion’s ongoing weight loss and lack of weight gain was related to the poor care

     that he had been receiving while in respondent-mother’s home. Medical providers

     determined that Damion could not be safely released to respondent-mother following

     his readmission to the hospital in July.

¶5         On 27 July 2017, CCDSS filed a petition alleging that Damion was a neglected

     and dependent juvenile. The District Court, Catawba County granted non-secure

     custody of Damion to CCDSS on 28 July 2017. Thereafter, Damion was placed in a

     foster home where he received proper medical care, began to steadily gain weight,

     and caught up with age-appropriate developmental milestones. Meanwhile,

     respondent-mother failed to follow through with a mental health evaluation and

     treatment, stormed out of a scheduled appointment with a counselor after she did not
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     receive medication, and obstructed efforts made by social services to obtain her

     signature for a case plan for Damion. Between the filing of the petition and the

     adjudication hearing in March, April, and May of 2018, respondent-mother had

     exercised only sporadic visitation with Damion and attended just seven of the thirty

     visits that were made available to her after Damion was placed in foster care.

¶6         After a hearing on 30 May 2018, Damion was adjudicated a neglected and

     dependent juvenile. The trial court awarded CCDSS legal custody of Damion and

     respondent-mother was allowed supervised visitation with him for four hours per

     month. The trial court also ordered respondent-mother to enter into and comply with

     a case plan for reunification purposes. The trial court ordered that respondent-

     mother:

                  a. Complete comprehensive medical training to meet the
                     medical needs of her infant son;
                  b. Complete a full psychological evaluation and follow
                     recommendations;
                  c. Provide and maintain stable housing;
                  d. Maintain employment; and
                  e. Consistently show the capacity to attend all scheduled
                     appointments and meet all medical needs of her minor
                     child.

     Respondent-mother was also ordered to provide the court at the next hearing with

     evidence of efforts she had made to improve her transportation situation. Social

     workers continued to make efforts to help respondent-mother comply with her case

     plan. By the next hearing date on 17 September 2018, respondent-mother had only
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     visited with Damion three times, despite the social worker’s efforts to arrange

     transportation for the visits.

¶7         Over the next year, from October 2018 to October 2019, the trial court

     continued to enter permanency-planning orders as to Damion with the same case

     plan requirements. Between 2018 and 2019, the trial court found that overall,

     respondent-mother failed to make reasonable progress on correcting the conditions

     that led to Damion’s removal, and that she did not follow through on complying with

     many of the requirements of her case plan.

¶8         On 17 December 2019, CCDSS moved to terminate respondent-mother’s

     parental rights to Damion for neglect pursuant to N.C.G.S. § 7B-1111(a)(1), failure to

     make reasonable progress pursuant to N.C.G.S. § 7B-1111(a)(2), and failure to pay a

     reasonable portion of Damion’s cost of care pursuant to N.C.G.S. § 7B-1111 (a)(3).

     After a hearing on the motion, the trial court concluded that grounds existed to

     terminate respondent-mother’s parental rights to Damion under N.C.G.S. § 7B-

     1111(a)(1) and (a)(2) and determined that termination was in Damion’s best interests.

     Respondent-mother appeals.

                                      II.     Analysis

¶9         On appeal, respondent-mother challenges the trial court’s adjudication that

     grounds existed to terminate her parental rights for willful failure to make
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       reasonable progress to correct the conditions that led to Damion’s removal. Our

       standard of review is well-established:

                          When reviewing the trial court’s adjudication of
                    grounds for termination, we examine whether the court’s
                    findings of fact are supported by clear, cogent[,] and
                    convincing evidence and whether the findings support the
                    conclusions of law. Any unchallenged findings are deemed
                    supported by competent evidence and are binding on
                    appeal. The trial court’s conclusions of law are reviewed de
                    novo.

       In re Z.G.J., 378 N.C. 500, 2021-NCSC-102, ¶ 24 (cleaned up). The trial court’s

       findings of fact that are supported by clear, cogent, and convincing evidence are

       deemed conclusive even when some evidence supports contrary findings. In re Helms,

       127 N.C. App. 505, 511 (1997).

¶ 10         Here, the trial court concluded that respondent-mother willfully left Damion

       in foster care or a placement outside the home for more than twelve months without

       showing to the court’s satisfaction that she made reasonable progress to rectify the

       conditions that led to his removal under N.C.G.S. § 7B-1111(a)(2). Respondent-

       mother does not dispute adjudicatory findings of fact 1 through 23. Those findings

       specify the ways that respondent-mother failed to make reasonable progress on

       correcting the conditions which led to Damion’s removal during the forty-six months

       that he spent in foster care before her parental rights were terminated. Among other

       things, respondent-mother was specifically ordered to complete a full psychological

       evaluation and follow any recommendations, which may have aided in her capacity
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       to adequately manage Damion’s extensive and serious medical needs.

¶ 11         After respondent-mother completed a mental health assessment, she was

       diagnosed with adjustment disorders, including mixed anxiety and depressed mood.

       Consequently, respondent-mother’s evaluating clinician recommended that she

       participate in therapy up to two times per week, submit to a psychiatric evaluation,

       and obtain crisis services to reduce the risk of harm to herself and others.

       Respondent-mother failed to follow through with the recommended outpatient

       therapy and did not obtain the recommended psychiatric evaluation until almost two

       years after Damion was placed into CCDSS’s custody. After respondent-mother

       finally completed the court-ordered evaluation, which resulted in a diagnosis of

       bipolar I disorder, her mental illness remained untreated. Respondent-mother’s

       evaluating clinician, Dr. Jennifer Cappelletty, emphasized that respondent-mother’s

       “untreated mental illness has contributed to her overall instability, poor judgment,

       unhealthy interpersonal relationships, and emotional dysregulation that have

       negatively impacted her capacity to effectively parent her children.”

¶ 12         Throughout the history of this case respondent-mother’s untreated mental

       health disorders caused Damion’s doctors to be concerned that her illnesses

       contributed to her inability to properly attend to Damion’s medical needs, and

       ultimately, respondent-mother’s mental health challenges led to Damion’s removal

       for neglect. The undisputed findings of fact in the trial court’s order are based on the
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       clear, cogent, and convincing evidence that respondent-mother failed to obtain

       treatment for her mental illness even though she received a psychiatric evaluation

       confirming the detrimental effect of her illness on her parenting abilities and

       recommending that she receive treatment. Respondent-mother’s failure in this

       regard ultimately prevented her from making reasonable progress under the

       circumstances to correct the conditions which led to Damion’s removal within the

       meaning of N.C.G.S. § 7B-1111(a)(2). Because respondent-mother does not contest

       these findings of fact on appeal, they are deemed to be supported by sufficient

       evidence. In re Clark, 159 N.C. App. 75, n.5 (2003) (citing In re Caldwell, 75 N.C. App.

       299, 301 (1985)).

¶ 13         Respondent-mother argues that the trial court impermissibly terminated her

       parental rights based on N.C.G.S. § 7B-1111(a)(2) because it failed to consider the

       extent to which her inability to care for Damion was due to her being impoverished.

       The applicable statute requires that “[n]o parental rights, however, shall be

       terminated for the sole reason that the parents are unable to care for the juvenile on

       account of their poverty.” N.C.G.S. § 7B-1111(a)(2) (2021). Here, it was respondent-

       mother’s failure to make reasonable efforts to complete her case plan, rather than her

       lack of financial resources, that was the basis of the trial court’s order. For example,

       social workers who attempted to engage with respondent-mother consistently offered

       her transportation to Damion’s medical appointments and visitations, and when
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       respondent-mother moved to Durham County she was given the option of

       participating in virtual visitations if in-person visitations became infeasible.

       Additionally, the trial court found that respondent-mother did not demonstrate the

       sustained behavioral change that was necessary for Damion to be safely returned to

       her care.

¶ 14         Furthermore, respondent-mother had difficulty maintaining consistent

       employment while Damion was placed elsewhere. She quit her job at Taco Bell in

       January 2019 and then began working at an assisted living facility in May 2019. But

       at the time of the trial court’s order terminating her parental rights, respondent-

       mother had been unemployed since the birth of her youngest child in or around March

       2020. On balance, the trial court’s findings demonstrate that respondent-mother

       could have sought to comply with the requirements of her case plan even while

       experiencing otherwise insufficient monetary resources.

¶ 15         We therefore hold that the trial court properly determined grounds existed to

       terminate respondent-mother’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(2).

       “[A]n adjudication of any single ground in N.C.G.S. § 7B-1111(a) is sufficient to

       support a termination of parental rights,” and it is not necessary to address the

       sufficiency of the trial court’s conclusions of law or findings of fact relative to any

       other ground. In re E.H.P., 372 N.C. 388, 395 (2019); see also In re T.N.H., 372 N.C.

       403, 413 (2019). Thus, we decline to reach the question of whether the trial court
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       properly terminated respondent-mother’s parental rights for neglect pursuant to

       N.C.G.S. § 7B-1111(a)(1).

                                     III.    Conclusion

¶ 16         We conclude that the trial court did not err in adjudicating the existence of

       grounds for termination of respondent-mother’s parental rights in Damion.

       Respondent-mother does not challenge the trial court’s determination that

       termination of her parental rights was in Damion’s best interests. We therefore hold

       that the trial court based its findings of fact and conclusions of law on sufficient

       evidence and appropriately terminated respondent-mother’s parental rights under

       N.C.G.S. § 7B-1111(a)(2) and that termination was in Damion’s best interest. In light

       of the foregoing, the order terminating respondent-mother’s parental rights must be

       affirmed.

             AFFIRMED.
